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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


1925 HOOPER LLC; ROBERT J. ARKO; and
ANDREW M. MOORE; on behalf of themselves
and all others similarly situated,

     Plaintiffs,

v.

THE NATIONAL ASSOCIATION OF
REALTORS; HIGHER TECH REALTY, LLC
d/b/a MARK SPAIN REAL ESTATE;
CHRISTIE’S INTERNATIONAL REAL        CASE NO.:1:23-cv-05392-
ESTATE, LLC; ENGLE AND VOLKERS       SEG
AMERICAS, INC.; ENGLE AND VOLKERS
ATLANTA; WEICHERT OF NORTH
AMERICA, INC.; ERA FRANCHISE SYSTEMS
LLC; EXP WORLD HOLDINGS, INC; REDFIN
CORPORATION; HOMESMART HOLDINGS,
INC.; SOLID SOURCE REALTY;
PALMERHOUSE PROPERTIES, LLC;
HAMILTON DORSEY ALSTON COMPANY,
INC.; ANSLEY ATLANTA REAL ESTATE,
LLC; BEACHAM & COMPANY, LLC;
TRACEY COUSINEAU REAL ESTATE, LLC;
SANDERS REALTY HOLDINGS, LLC; BOLST,
INC. d/b/a THE JUSTIN LANDIS GROUP;
CHAPMAN HALL REALTORS, INC.;
SIGNATURE PROPERTIES GROUP, INC.;
METHOD REAL ESTATE GROUP, LLC d/b/a
METHOD REAL ESTATE ADVISORS; PATH &
POST, LLC d/b/a PATH & POST REAL
ESTATE; DUCKWORTH PROPERTIES, LLC;
AF REALTY GROUP, LLC; GREATER
ATLANTA REAL ESTATE GROUP, LLC d/b/a
MAXIMUM ONE REALTY; GREATER
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  ATLANTA REALTY HOLDINGS
  CORPORATION d/b/a MAXIMUM ONE
  REALTY, and ATLANTA COMMUNITIES
  REAL ESTATE BROKERAGE, LLC

        Defendants.



                   AMENDED CLASS ACTION COMPLAINT

        COME NOW, Plaintiffs 1925 Hooper, LLC, Robert J. Arko, and Andrew M.

 Moore (“Plaintiffs”), by and through their undersigned counsel, and hereby submit

 this Amended Class Action Complaint on behalf of themselves and on behalf of the

 plaintiff classes (the “Classes”) consisting of all persons who listed properties on

 any Multiple Listing Service anywhere in the United States (the “MLSs”) and

 incurred a buyer-broker commission in connection with the sale transaction during

 the period from at least December 6, 2019 through and including the present date

 (the “Class Period”). This action is brought against Defendants named herein,

 including the National Association of Realtors, other national real estate broker

 franchisors with a substantial presence in the state of Georgia, and real estate brokers

 that do business only in Georgia (the “Defendants”).

                              NATURE OF THE CASE

   1.   This case involves a nationwide conspiracy by and between the National

Association of Realtors (“NAR”) and residential real estate brokerages orchestrated

to increase broker compensation at the expense of home sellers, including the

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Plaintiffs in this action, by requiring home sellers to shoulder both the commission of

their listing agents and the commission of the buyer’s agent when properties are listed

on the ubiquitous MLSs

   2.   An MLS functions as a repository of real estate offerings within a designated

geographic area and requires all member brokers to list their properties in this

centralized ledger. This ensures that MLSs are at the center of real estate transactions

in the United States.

   3.   To list a property in an MLS, seller brokers must agree to comply with the

NAR rules. The NAR rules, including the “Mandatory Offer of Compensation Rule”

(the “Compensation Rule”), dictate the conduct of state NAR associations, brokers,

and agents.

   4.   The NAR’s Compensation Rule compels home sellers to set the commission

of the buyer’s agent. By enforcing this mandate, the NAR establishes an

anticompetitive market where sellers are coerced into subsidizing the buyer’s costs.

   5.   The Defendants advance the conspiracy by annually ratifying the NAR rules,

including the Compensation Rule, and by participating in councils and committees

that ensure compliance with the NAR rules.

   6.   As a result of this scheme, the purportedly non-negotiable commissions of

buyer agents are rolled into the sale price of homes. This system, with its veiled

surcharges, illegally warps the real estate market.


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   7.   By comparison, in foreign markets—such as the United Kingdom, Germany,

Israel, Australia, and New Zealand, which are unencumbered by any analogue to the

Compensation Rule—the buyer-brokerage fees fall upon the buyer, not the seller. This

results in total commission rates that hover between 1% and 4%. This stands in sharp

contrast with the United States, where the average total commission rates are in the

range of 5% to 6%.1

   8.   Defendants’ scheme has artificially and anticompetitively maintained

commissions of buyer brokers ranging from 2.5% to 3.0% over many years.

   9.   The commission overcharges levied upon home sellers have no correlation to

the volume or caliber of services provided, much less any purported value conferred

by the buyer brokers who receive the commissions.

   10. Furthermore, a practice known as “steering,” which stems from Defendants’

anticompetitive conspiracy, arises from the seller brokers’ obligation to extend

blanket, non-negotiable commission offers to buyer brokers, a detail visible within the

MLS system to realtors yet obscured from consumer view. Steering incentivizes buyer

brokers to guide their clients towards properties where they will receive higher

commissions, curtailing competition.2


 1 FTC-DOJ Joint Public Workshop, Segment 3 Tr., June 5, 2018, available at

 https://www.ftc.gov/system/files/documents/videos/whats-new-residential-real-estate-brokerage-
 competition-part-3/ftc-
 doj_residential_re_brokerage_competition_workshop_transcript_segment_3.pdf
 2 See FTC-DOJ Joint Public Workshop, Segment 3 Tr., June 5, 2018, available at

 https://www.ftc.gov/system/files/documents/videos/whats-new-residential-real-estate-brokerage-

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   11. Moreover, given the reluctance of buyer brokers to showcase properties where

the commission offered by the seller broker is less lucrative, seller brokers are coerced

into proposing high commissions to attract buyer brokers, commissions that will be

paid by the seller brokers’ clients.

   12. In essence, the conspiracy (a) obliges sellers to bear excessive costs for

services rendered by buyer brokers to the seller’s opponent; (b) artificially inflates

buyer brokers’ compensation; and (c) promotes and abets “steering” and similar

practices that thwart innovation and stifle competition.

   13. As a direct result of this conspiracy, Plaintiffs and their fellow Class members

have suffered millions of dollars in overcharges and damages.

   14. Upon information and belief, the Justice Department lodged a complaint in

2020 against the NAR accusing it of anticompetitive practices.

   15. In one recent Missouri class action, a federal jury reached a verdict holding

the NAR along with some of the nation’s biggest real estate brokerages (but not the

Defendant brokers here) liable for almost $1.8 billion in damages for artificially

inflating commissions.




 competition-part-3/ftc-doj_residential_re_brokerage_competition_workshop_transcript_
 segment_3.pdf

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   16. Plaintiffs now bring this lawsuit not only for themselves but also on behalf of

all sellers nationwide who have been harmed by the NAR’s anticompetitive collusion

and the brokerages that dutifully toe the line.

   17. Plaintiffs further bring this lawsuit as a class action representing the collective

interests of home sellers who, over the past four years, have been saddled with broker

commissions while selling residential real estate.

                     JURISDICTION, VENUE AND PARTIES

   18. This court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337 and

15 U.S.C. § 4 because the suit raises a federal question and “aris[es] under [an] Act of

Congress regulating commerce or protecting trade and commerce against restraints

and monopolies.”

   19. This Court further has subject matter jurisdiction under 28 U.S.C. § 1367 over

any state law claims made because those claims “are so related to claims in the action

within such original jurisdiction that they form part of the same case or controversy

under Article III of the United States Constitution.”

   20. Further, the state law claims do not raise novel or complex issues of Georgia

law, substantially predominate over the claim over which the district court has original

jurisdiction, nor is there any compelling reason for the Court to decline jurisdiction.

   21. This Court has independent subject matter jurisdiction under 28 U.S.C. §1332

(d) (2) over state law claims, because the Class defined herein contains more than 100


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persons, the aggregate amount in controversy exceeds $5,000,000, and at least one

member of the Class is a citizen of a State different from one of the Defendants.

   22. This Court has personal jurisdiction over Defendants because they each have:

(1) transacted substantial business in the United States, including in this District; (2)

transacted business with members of the Classes throughout the United States,

including in this District; (3) had substantial contacts with the United States, including

in this District; and (4) committed substantial acts in furtherance of their unlawful

scheme in the United States, including in this District.

   23. Each Defendant, as set forth in this Complaint, engages in significant business

activities within this District. For example, for each Corporate Defendant, such

substantial business presence is evidenced by the extensive operations of their real

estate brokerage subsidiaries, franchisees, and affiliates. Collectively, these entities

play a dominant role in a major portion of residential real estate listings and sales

within the MLSs, including those in this District. Each Broker Defendant has accrued

millions of dollars in revenue originating from business activities in this District,

attributable to the brokerage operations of their respective subsidiaries, franchisees,

and affiliates operating in this District.

   24. For its part, the NAR garners substantial revenues and fees from its extensive

nationwide membership, which includes a significant number of members who are

actively conducting business within the MLSs’ coverage areas, including the Northern


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District of Georgia. Therefore, it follows that during the period relevant to the subject

Classes, NAR has amassed millions, possibly even tens of millions, of dollars in

membership dues and revenue from real estate brokerages, brokers, and/or Realtors

operating within this District.

   25. Moreover, the NAR engages in substantial business within this District

through its active role in crafting, revising, and disseminating updated versions of the

“Interpretations of the Code of Ethics,” with its 31st Edition being published in 2019.

This document evidences NAR’s involvement, particularly through its Professional

Standards Committee, in interacting with and conducting business alongside

arbitration Hearing Panels and Boards of Directors of local real estate associations.

These interactions are focused on reviewing and delineating policies and principles

that have been implemented in specific realtor disputes and are not merely advisory

in nature. Rather, they serve as official policy statements of NAR, thereby directing

the arbitration of disputes among realtors within this District.

   26. The NAR mandates that each of the Defendants, along with other co-

conspirators active in this District, adhere to its established policies, including those

outlined in the Handbook on Multiple Listing Policy and the Code of Ethics. Among

these stipulated policies is the Compensation Rule, which NAR requires the

Defendants and other co-conspirators in this District to follow. It is believed, based

on available information, that NAR vigilantly oversees the compliance of the


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Defendants and other co-conspirators with its Rules and Policies, including the

Compensation Rule. Non-compliance with this rule can lead to severe consequences,

including the entity or individual’s removal from the NAR membership and

subsequent expulsion from the MLSs.

   27. The NAR is also significantly involved in lobbying efforts targeted at various

governmental entities and political candidates across local, state, and federal levels. It

is understood, based on available information, that the NAR has undertaken such

lobbying activities specifically directed towards this District.

   28. The Compensation Rule, along with other anticompetitive rules set forth by

the NAR, are applied and have been enforced by the Defendants and their co-

conspirators within the scope of interstate commerce, including within this District.

These regulations dictate the practices of local NAR associations, brokers, and sales

agents across various states, encompassing, but not limited to, Georgia.

   29. The conduct of the Defendants, as set forth in this Complaint, has led to the

nationwide inflation of buyer broker commissions, impacting not only this District but

also home sellers across the country. Defendant NAR, via its members and other co-

conspirators, and the other Defendants, through their network of franchisees,

subsidiaries, and/or affiliates, along with other co-conspirators, are actively involved

in interstate commerce. Their collective actions have a significant impact on interstate

commercial activities within the United States.


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   30. Venue is proper in the Northern District of Georgia under 15 U.S.C. § 22 and

under 28 U.S.C. §1391(b), (c), and (d). Each Defendant transacted business, was

found, had agents and/or resided in this District; a substantial part of the events giving

rise to Plaintiffs’ claims arose in this District; and a substantial portion of the affected

interstate trade and commerce described herein has been carried out in this District.

     A. The Plaintiffs

   31. Plaintiff 1925 Hooper LLC (“Hooper”) is a Georgia limited liability

company. In 2022, Hooper sold a house located at 3383 Lawrence Street, Scottdale,

Georgia 30079. Palmerhouse Properties, LLC acted as Hooper’s real estate broker for

this sale.   In this transaction, Hooper was obligated to pay its seller broker’s

commission plus the buyer broker’s commission of three percent (3%) of the sales

price. In 2023, Hooper sold a house located at 2384 Lynn Iris Drive, Decatur, Georgia

30032. Homesmart Holdings, Inc. acted as Hooper’s real estate broker for this sale.

In this transaction, Hooper was obligated to pay its seller broker’s commission plus

the buyer broker’s commission of three percent (3%) of the sales price.

   32. Plaintiff Robert Joseph Arko is a Georgia resident. In 2021, Mr. Arko sold a

house located at 823 Tanner Drive, Scottdale, Georgia 30079. Palmerhouse Properties

acted as Mr. Arko’s real estate broker for this sale. In this transaction, Mr. Arko was

obligated to pay his seller broker’s commission plus the buyer broker’s commission

of three percent (3%) of the sales price.


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   33. Plaintiff Andrew M. Moore is a Georgia resident. In 2022, Mr. Moore sold a

house located at 3486 Brookleigh Lane, N.E., Brookhaven, Georgia 30319.

Defendants Ansley Atlanta Real Estate, LLC and Christie’s International Real Estate,

LLC acted as Mr. Moore’s real estate broker for this sale. In this transaction, Mr.

Moore was obligated to pay his seller broker’s commission plus the buyer broker’s

commission of three percent (3%) of the sales price.

   34. As set forth in this Complaint, the Defendants’ unlawful conduct and

conspiratorial collusion have unfairly financially burdened home sellers, including the

Plaintiffs, with the requirement that they pay a buyer broker’s commission. Moreover,

this conduct has not merely imposed an additional cost but has inflated the buyer

broker’s commission to levels exceeding those that would be dictated by the forces of

a competitive market, absent the Compensation Rule and the Defendants’ collusion.

     B. The Defendants

   35. Defendant National Association of Realtors (“NAR”), headquartered in

Chicago, Illinois, is the largest real estate brokerage association in the country. It has

over 1.2 million members. According to its 2020 IRS Form 990 NAR reported

receiving $268,602,796 in member dues across the nation.          The NAR’s dominion

extends over fifty-four state and territorial associations and over more than 1,200 local

chapters. NAR operates in Georgia. NAR may be served with process by service upon




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its registered agent, Katherine R. Johnson, at 430 North Michigan Avenue, Chicago,

Illinois 60611.

   36. Defendant Higher Tech Realty, LLC, which conducts its dealings under the

banner of Mark Spain Real Estate (“Mark Spain”), is a prominent fixture in the real

estate domain. With a roster of 307 active licensed agents, Mark Spain operates from

its headquarters located in Alpharetta, Georgia, and its operations radiate throughout

the Southeast, with a significant footprint in Georgia and, particularly, within this

District. Mark Spain brokered almost $3.8 billion in sales in 2022 alone. Mark Spain

may be served with process by service upon its registered agent, Elaine M. Russell, at

1875 Old Alabama Road, Suite 1210, Roswell, Georgia 30076.

   37. Defendant Christie’s International Real Estate, LLC (“Christie’s”) is a

Delaware limited liability company. Christie’s is an international real estate brokerage

company with affiliates, franchisees and corporate owned brokerages across the

country. In this District, Christie’s operates through its affiliate, Ansley Atlanta Real

Estate, LLC. Christie’s may be served with process by service upon its registered

agent, Registered Agent Solutions, Inc., at 838 Walker Road, Suite 21-2, Dover,

Delaware 19904.

   38. Defendant Engel & Völkers Americas, Inc. (“Engel & Völkers”) is one of

the world's leading brokers of premium residential property. The company has

established an international presence through a strategic array of franchisees and


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corporate-owned affiliates. Among these is Defendant Engel & Völkers Atlanta (“EV

Atlanta”). Currently, EV Atlanta boasts a management profile whose value

cumulatively exceeds the half-billion-dollar mark in managed home listings, the

majority of which are located in this District. Engel & Volkers has an annual revenue

of almost $70 million. Engle & Volkers is a Delaware corporation headquartered at

430 Park Avenue, New York City, New York, 10022 and may be served through its

registered agent, Corporation Service Company, at 251 Little Falls Drive,

Wilmington, Delaware 19808.

   39. Defendant Weichert of North America owns and controls, upon information

and belief, Weichert Real Estate Affiliates, Inc., its franchise division, and Weichert,

Realtors, its residential real estate company.     Collectively, these companies are

referred to throughout as “Weichert.”       In 2019, Entrepreneur magazine ranked

Weichert Real Estate Affiliates as one of the fastest growing franchises in North

America. Together, these companies boast hundreds of thousands of real estate

listings in this District and beyond. Weichert North America is a Delaware company

headquartered in Morris Plains, New Jersey and may be served in through its

registered agent, Corporation Service Company, at 251 Little Falls Drive,

Wilmington, Delaware 19808.

   40. Defendant ERA Franchise Systems, LLC (“ERA”) is a Delaware corporation

with its headquarters in Cincinnati, Ohio. On its website, it claims to have 40,000


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agents in 2,300 offices in 30 countries around the world. Many of those offices and

agents are located in this District. ERA may be served through its registered agent,

Corporate Creations Network, Inc., located at 1521 Concord Pike, Suite 201,

Wilmington, Delaware 19803.

   41. Defendant EXP World Holdings, Inc. (“EXP”) does business as eXp Realty.

The company is a Delaware corporation with its headquarters in Bellingham,

Washington. It has several affiliates located in various states around the country,

including in Georgia and, more specifically, in this District. EXP may be served

through its registered agent, United Agent Group, Inc., located at 1521 Concord Pike,

Suite 201, in Wilmington, Delaware 19803.

   42. Defendant Redfin Corporation (“Redfin”) is a Delaware company

headquartered in Seattle, Washington. It has paired its home search app with what it

claims to be “the best agents in real estate.” It offers a discounted listing fee but, upon

information and belief, still requires its sellers to pay the buyers’ brokers’

commissions. Redfin may be served through its registered agent, Legalinc Corporate

Services, Inc., located at 651 North Broad Street, Suite 201, in Middleton, Delaware

19709.

   43. Defendant Homesmart Holdings, Inc. (“Homesmart”) is a national real estate

company. Defendant Homesmart has 61 agents working in Georgia. Homesmart is

an Arizona corporation that may be served with process by service upon its registered


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agent, CT Corporation System, 3800 N. Central Ave. Ste 460, Phoenix, Arizona

85012.

   44. Defendant Solid Source Realty, Inc. (“Solid Source”) is a Georgia

corporation and an affiliate of Homesmart. Solid Source has brokers throughout

Georgia. Solid Source may be served with process by service upon its registered

agent, CT Corporation System, located at 289 S. Culver Street, Lawrenceville,

Georgia 30046.

   45. Defendant Palmerhouse Properties, LLC (“Palmerhouse”) is a Georgia

limited liability company also affiliated with Homesmart. Palmerhouse may be served

with process by service upon its registered agent, CT Corporation System, located at

289 S. Culver Street, Lawrenceville, Georgia 30046.

   46. Defendant Hamilton Dorsey Alston Company, Inc. (“Dorsey Alston”) is a

Georgia real estate brokage company with over 200 realtors operating in Georgia. It

may be served with process by service upon its registered agent, John C. Hamilton,

2845 Arden Road, Atlanta, Georgia 30327.

   47. Defendant Ansley Atlanta Real Estate, LLC (“Ansley”), established in 2015

as a subsidiary of Ansley Real Estate Christie’s International, maintains an expansive

international network and has ascended as one of the leading residential real estate

firms in the metro Atlanta area. Ansley may be served with process by service upon




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its registered agent, Lane McCormack, at 3035 Peachtree Road, Suite 202, Atlanta,

Georgia 30305.

   48. Defendant Beacham & Company, LLC (“Beacham”) is a Georgia limited

liability company and real estate brokage company with over 60 realtors operating in

Georgia. Beacham may be served with process by service upon its registered agent,

Glennis C. Beacham, at 3060 Peachtree Road, Suite 100, Atlanta, Georgia 30305.

   49. Defendant Tracey Cousineau Real Estate, LLC (“Cousineau”) is a Georgia

limited liability company and real estate brokage company with realtors operating in

Georgia. Cousineau may be served with process by service upon its registered agent,

Tracey Cousineau, at 3627 Bogan Springs Drive, Buford, Georgia 30519.

   50. Defendant Sanders Realty Holdings, LLC (“Sanders”) is a Georgia limited

liability company and real estate brokage company with realtors operating in Georgia.

Sanders may be served with process by service upon its registered agent, Amy M.

Ranson, at 141 Railroad Street, Suite 115, Canton, Georgia 30114.

   51. Defendant Bolst, Inc. d/b/a The Justin Landis Group (“Justin Landis

Group”) is a Georgia corporation and real estate brokage company with over 50

realtors operating in Georgia. Justin Landis Group may be served with process by

service upon its registered agent, Andy Pierce, at 1201 West Peachtree Street, Suite

3250, Atlanta, GA 30309.




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   52. Defendant Chapman Hall Realtors, Inc. (“Chapman”) is a Georgia

corporation and real estate brokage company with over 60 realtors operating in

Georgia. Chapman may be served with process by service upon its registered agent,

John F. Hallman, III, at 6100 Lake Forest Drive, Atlanta, Georgia 30328.

   53. Defendant Signature Properties Group, Inc. (“Signature”) is a Georgia

corporation and real estate brokage company with over 30 realtors operating in

Georgia. Signature may be served with process by service upon its registered agent,

Zaida Clay Harris, 600 Sea Island Road, Suite 28, Saint Simons Island, Georgia

31522.

   54. Defendant Method Real Estate Group, LLC d/b/a Method Real Estate

Advisors (“Method”) is a Georgia limited liability company and real estate brokage

company with over 100 realtors operating in Georgia. Method may be served with

process by service upon its registered agent, Isila Lopez, 824 Herrington Drive,

Grovetown, Georgia, 30813.

   55. Defendant Path & Post, LLC d/b/a Path & Post Real Estate (“Path & Post”)

is a Georgia limited liability company and real estate brokage company with over 30

realtors operating in Georgia. Path & Post may be served with process by service

upon its registered agent, Rebecca Babcock, at 214 River Park N. Drive, Woodstock,

Georgia 30188.




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   56. Defendant Duckworth Properties, LLC (“Duckworth”) is a Georgia limited

liability company and real estate brokage company with over 15 realtors operating in

Georgia. Duckworth may be served with process by service upon its registered agent,

Anna Kay Duckworth, at 815 Old Stevens Creek Road, Martinez, Georgia 30907.

   57. Defendant AF Realty Group, LLC (“AF”) is a Georgia limited liability

company and real estate brokage company with 15 realtors operating in Georgia. AF

may be served with process by service upon its registered agent, Jeffrey Fiebig, at 604

GA-247 S, Unit 345, Bonaire, Georgia 31005.

   58. Defendant Greater Atlanta Real Estate Group, LLC d/b/a Maximum One

Realty (“Maximum”) is a Georgia limited liability company and real estate brokage

company with over 100 realtors operating in Georgia. Maximum may be served with

process by service upon its registered agent, Dave Kubat, at 1355 Terrell Mill Road,

Bldg #1464, Marietta, GA 30067.

   59. Defendant Greater Atlanta Realty Holdings Corporation d/b/a Maximum One

Realty (“Maximum One”) is a Georgia corporation and real estate brokage company

with over 100 realtors operating in Georgia. Maximum One may be served with

process by service upon its registered agent, Dave Kubat, at 1355 Terrell Mill Road,

Bldg #1464, Marietta, GA 30067.

   60. Defendant Atlanta Communities Real Estate Brokerage, LLC (“Atlanta

Communities”) is a Georgia limited liability company and real estate brokerage with


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over 100 realtors operating in Georgia. Atlanta Communities may be served with

process by service upon its registered agent, Andrew Ford, 3113 Roswell Road, Suite

101, Marietta, Georgia 30062.

   61. Each Defendant maintains a considerable presence within the markets of

Georgia, particularly in this District. They hold membership within the MLSs that

constitute the Georgia real estate market and engage in substantial business

transactions within this District.

     C. The Co-Conspirators and Agents

   62. Beyond the Defendants specifically named, there exist several other large,

national brokerages with extensive business operations throughout the country. This

includes their brokerage subsidiaries, franchisees, and/or affiliates, which together

play a significant role in a considerable portion of residential real estate listings within

the MLSs that make up this nation’s real estate market. These entities also contribute

to a substantial number of home sales listed in this District through Georgia’s MLSs.

   63. These brokerages also hold memberships in the NAR, as well as its state

and/or local affiliates. They contribute to and execute the conspiracy by taking active

roles on various boards and committees. In these capacities, they enforce adherence

to NAR’s rules, employing a range of incentives and penalties – metaphorically,

“carrots and sticks” – to ensure compliance.




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   64. The co-conspirators have accrued millions of dollars in revenue from their

business transactions within Georgia, and particularly within this District. Their

income is directly attributable to the brokerage operations conducted by their

respective subsidiaries, franchisees, and/or affiliates.

   65. The Compensation Rule along with a cadre of other anticompetitive NAR

rules have been implemented by Defendants and their co-conspirators in interstate

commerce, including in this District.

   66. Moreover, the franchisees and brokers affiliated with the Defendants have

assented to, adhered to, and enacted the Compensation Rule within the geographic

areas governed by the MLSs. Through these actions, they have engaged as co-

conspirators in the antitrust violations and unfair practices as set forth herein,

performing acts and making statements that further these allegations.

   67. The Defendants are jointly and severally accountable for the actions of their

co-conspirators, regardless of whether these co-conspirators are explicitly named as

defendants in this Complaint.

                             FACTUAL BACKGROUND

                              THE BUSINESS OF REALTORS

   68. In most states, state licensing laws govern the representation of sellers and

buyers in the real estate market. Central to each brokerage is a real estate broker-in-

charge, who bears the responsibility for overseeing the brokerage’s brokers and


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salespersons. These professionals are termed “associated licensees.” Upon the

departure of any broker or salesperson from their broker-in-charge, the brokerage

must immediately notify the real estate commission in its state. Legally, these brokers-

in-charge are responsible for the actions and conduct of their associated licensee.

   69. Brokers-in-charge and their associated licensees perform dual roles within the

real estate domain. In some transactions, they function as selling or listing brokers for

home sales, while in others, they assume the role of buyer brokers.

   70. According to NAR’s own data, in 2017, a significant 92% of sellers completed

their home sale with the aid of a real estate broker, and similarly, 87% of buyers

procured their homes with the assistance of a real estate broker within that same year.

   71. In conventional residential real estate dealings, brokers-in-charge and

associated licensees are remunerated through commissions. These commissions are

calculated as a percentage of the home’s sale price and are disbursed upon closing.

   72. The financial terms for a seller broker’s services are detailed in a listing

agreement, a contract drawn between the seller and the seller broker. This agreement

not only specifies the financial terms of the listing but often ensures the seller broker

exclusive marketing rights over the property. As mandated by the Compensation Rule,

this agreement sets the total commission due to the seller broker from the home seller

and additionally prescribes the portion to be allocated to the buyer broker, should

another broker be involved in the transaction.


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   73. When a buyer elects to engage the services of a broker, a contract is similarly

drawn up, which designates the broker as the buyer’s agent. Commonly, this contract

provides that the buyer’s broker will obtain compensation in the form of a

commission, which is typically derived from the proceeds paid to the seller’s broker.

   74. If the buyer is represented by a broker, as is usually the case, the seller broker

disburses a portion of the commission received from the seller to the buyer broker

upon the completion of the sale of a property.

   75. As a consequence of these contracts and the NAR’s mandatory imposition of

the Compensation Rule, buyer brokers are compensated from the aggregate

commission paid by the seller at closing, rather than directly from the buyer whom

they represent.

   76. Indeed, prior to a January 2022 amendment, a stipulated norm within the

NAR’s Code of Ethics permitted, even encouraged, buyer brokers to inform their

clients that their services are offered at no cost – a claim which was untrue and

misleading at best. The NAR’s 2022 amendment amounted to a tacit admission that

its prior practices were untrue and misleading. Upon information and belief, many

buyer brokers still inform their clients that their services are provided at no cost,

consistent with NAR’s original guidance.

   77. This is untrue or misleading because, although the buyer does not directly pay

a fee, the cost of the broker’s services is inherently included in the overall transaction


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price and borne by the seller. This means that the broker’s compensation is often

indirectly paid from the sales price paid by the buyer rather than being an out-of-

pocket expense for the buyer. Either way, though, the buyer almost always pays a

commission that he or she did not agree to pay and could not negotiate.

   78. In the absence of the Compensation Rule, within a truly competitive

marketplace – a context wherein a seller has no inherent motive to fund a buyer broker

who is negotiating in opposition to the seller’s interests – the financial responsibilities

would likely be restructured. Under such conditions, a buyer would be expected to

compensate their own broker directly. Concurrently, a seller would agree to a

commission exclusively for the benefit of their own broker. Consequently, the total

commission a seller would be obligated to pay would be significantly reduced,

potentially to half (or even less) of the current sums that cover the remuneration of

both the seller’s and the buyer’s brokers.

                     MLS LISTING AND THE COMPENSATION RULE

   79. MLSs are curated repositories of properties available for sale within a specific

locale, accessible exclusively to real estate brokers and their agents who are in good

standing with the MLS and in compliance with its regulations. The MLSs are under

the ownership and operation of local realtor associations, which are not only members

of but are also regulated by the NAR.




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   80. As mandated by the NAR rules, seller brokers are obligated to list their clients’

properties on an MLS. Should a seller broker neglect to list a property on an MLS,

most buyer brokers will refrain from showing that property to potential purchasers.

Moreover, MLSs serve as the primary fountainhead of property listings for online

platforms such as Zillow and Realtor.com, which have become a pivotal resource for

many prospective home buyers in their search for homes.

   81. The Compensation Rule mandates that a seller broker, acting on behalf of the

seller, extend a comprehensive, unilateral, and in practice, non-negotiable offer of

remuneration to buyer brokers in the act of listing a home on an MLS that is under the

purview of a local NAR association. Should the home be purchased by a buyer under

the representation of a broker, it is then that the buyer broker earns the compensation

as offered.

                          NAR’S ANTICOMPETITIVE RULES

   82. The Compensation Rule, established by the NAR in 1996 within its Handbook

on Multiple Listing Policy (“Handbook”), has been continuously operative to this

day.

   83. Prior to the inception of the Compensation Rule in 1996, the National NAR

was instrumental in the creation, execution, and enforcement of a comparable, yet

equally misleading and defective, market framework via the MLS system. Within this

structure, brokers involved in residential home sales predominantly represented the


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seller’s interests, functioning either directly as the seller’s broker or indirectly as a

“sub-agent” of the seller’s broker.

   84. Within the then-dominant framework of sub-agency, brokers, even those

chiefly assisting buyers, were legally bound to uphold the interests of sellers.

Consequently, upon the completion of a transaction, the seller would remit a total

commission to their broker, who would then allocate a portion to the “sub-agent”

broker. This sub-agent, despite their involvement with the buyer, was under a legal

and fiduciary duty to the seller.

   85. This convoluted and deceptive market practice led to widespread

misconceptions among homebuyers, many of whom erroneously presumed that the

sub-agent broker was advocating for them. The revelation of this system, where

brokers engaged with buyers were legally compelled to relay information to sellers

that could be detrimental to their clients, precipitated its rapid disintegration.

   86. When brokers assisting buyers ceased to act as “sub-agents” for the seller’s

broker, the customary practice of sellers compensating both the seller’s and buyer’s

brokers should have become obsolete, lacking any further rationale for its

continuation.

   87. Nonetheless, it was at this juncture that the NAR and its co-conspirators

intervened, instituting and upholding a restrictive and misleading strategy – a strategy




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aimed at preserving artificially high commission rates and obstructing more cost-

effective and innovative competition.

   88. This objective was realized by imposing a directive through the Compensation

Rule, which compels seller brokers to extend standardized, non-negotiable

compensation offers to buyer brokers at the point of listing a property on an MLS.

   89. The NAR’s Board of Directors, along with its subordinate committees, retains

the discretionary power to periodically assess and determine the necessity of

modifications to the policies delineated in the NAR Handbook. In accordance with

this prerogative, the Board has, in recent years, sanctioned specific amendments

pertinent to the MLSs operation.

   90. Each policy, be it existing, revised, or novel, is included in the Handbook’s

annual editions, reflecting a consistent, yearly tradition of update and renewal.

   91. Notwithstanding criticisms from economists and industry specialists about the

Compensation Rule’s anticompetitive nature and its tendency to elevate commission

rates above market levels, the NAR Board of Directors has persistently chosen to

uphold this rule in the Handbook.

   92. In the process of updating and reissuing the Handbook, the NAR has

consistently extended an invitation to each of the Defendants and other co-

conspirators to partake in the agreement, amalgamation, and conspiracy as set forth in

this Complaint.


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   93. Every conspirator, Defendants included, may only participate in the MLSs

across the United States’ real estate markets if they agree to comply with and enforce

the anticompetitive constraints outlined in the Handbook, including the Compensation

Rule.

   94. Each conspirator, Defendants among them, has invariably and willfully

participated in the respective MLSs.

   95. Thus, regardless of their claims of non-authorship of the Handbook, the

Compensation Rule, or other anticompetitive rules therein, the Defendants have

nonetheless consented to (and do) adhere to, execute, and enforce these policies,

including the Compensation Rule.

   96. NAR characterizes an MLS as a “means by which authorized participants

make blanket, unilateral compensation offers to other participants.”

   97. This declaration implicitly acknowledges the Compensation Rule as a

nonnegotiable cornerstone of the MLS system.

   98. The Handbook, on page 65, articulates the Compensation Rule as follows:

        In filing property with the multiple listing service, participants make
        blanket unilateral offers of compensation to the other MLS participants
        and shall therefore specify on each listing filed with the service the
        compensation being offered by the listing broker to the other MLS
        participants.

   99. Further, page 40 of the Handbook continues with the following:

        Multiple listing services shall not publish listings that do not include an
        offer of compensation expressed as a percentage of the gross selling

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        price or as a definite dollar amount, nor shall they include general
        invitations by listing brokers to other participants to discuss terms and
        conditions of possible cooperative relationships.

   100. Effectively, the Compensation Rule reallocates a cost to the seller, a burden

typically borne by the buyer in a competitive market. In fact, the Wall Street Journal

recently opined that this practice requires home sellers to engage a buyer broker for

MLS listing — a service mandating a seller broker. This system is a “potentially illegal

tying arrangement under the Sherman Anti-Trust Act that keeps buying agents paid

though they offer almost no useful services.”3

   101. These rules also not only mandate the seller’s payment of the buyer-broker’s

compensation, but they also obscure the compensation structure from buyers and

sellers, concealing the true source of the buyer broker’s payment.

   102. Furthermore, the rules explicitly forbid negotiations over the buyer broker’s

compensation by either the buyer or the paying seller. Moreover, they preclude a buyer

broker from presenting offers to sellers that are predicated on lowering this

commission.

   103. In response to the conceivable scenario where a buyer aims to lower their

broker’s commission as a condition of their purchase offer, the NAR has implemented

a rule to preclude such arrangements. Particularly, the NAR’s Code of Ethics, under

Standard Practice 16-16, explicitly states:


 3 Jack Ryan & Jonathan Friedland, When You Buy or Sell a Home, Realty Bites, WALL ST. J. (Mar. 3,

 2019), https://www.wsj.com/articles/when-you-buy-or-sell-a-home-realty-bites-11551649734

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        REALTORS, acting as subagents or buyer/tenant representatives or
        brokers, shall not use the terms of an offer to purchase/lease to attempt
        to modify the listing broker’s offer of compensation to subagents or
        buyer/tenant representatives or brokers nor make the submission of an
        executed offer to purchase/lease contingent on the listing broker’s
        agreement to modify the offer of compensation.4

   104. The Compensation Rule reallocates a cost to the seller, a cost that, in a

competitive market, would typically be borne directly by the buyer. When combined

with Standard Practice 16-16, this rule lacks economic rationality.

   105. Moreover, the Compensation Rule initiates a cascade of undisclosed

obligations for the home seller. Engaging a seller broker, ostensibly for marketing the

property, inadvertently binds the seller to the MLS system, especially if economic

viability or benefits like branding and support from Defendants are considerations.

This necessitates listing the property on the regional MLS, regardless of the seller’s

preference. Consequently, this compels the seller to commit to a unilateral

compensation offer to an undefined buyer broker, thereby linking the seller’s choice

of a seller broker to an unknown buyer broker within that MLS region.

   106. The NAR’s mandate for seller brokers to propose a blanket, unilateral offer

incentivizes them to attract buyer brokers with substantial commissions. Moreover,

the interchangeable roles of brokers as seller and buyer agents in various transactions

further reinforce the anti-competitive nature of the Compensation Rule. This rule


 4 National Association of Realtors, Code of Ethics and Standard of Practice (Jan. 1, 2023), available at

 https://www.nar.realtor/about-nar/governing-documents/code-of-ethics/2023-code-of-ethics-
 standards-of-practice

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cultivates a cooperative rather than competitive broker environment, focusing on

commission splitting rather than earning client business through quality of service to

sellers and buyers.

   NAR’S REGULATION AND IMPLEMENTATION OF ANTICOMPETITIVE POLICIES

   107. The NAR has effectively ensured compliance with its anticompetitive rules

and other directives in the Handbook and Code of Ethics among its members. This

includes state and local realtor associations within the MLSs, as well as non-member

brokers and agents in regions served by local realtor association-operated MLSs.

   108. The NAR requires its member-owned and operated MLSs to adhere to the

imperative clauses in the Handbook and the Code of Ethics. The Handbook specifies

that an association’s accord to form an MLS must encompass the “roles and

responsibilities of each association for enforcement of the Code of Ethics” and the

“intent of the multiple listing services(s) to operate in compliance with the multiple

listing policies of the National Association.”5

   109. Each MLS, owned by local realtor associations, is subject to NAR’s

requirement for vigilant monitoring to guarantee compliance with the NAR

Handbook. Consequently, every local realtor association, MLS, and their participants

consent to the anticompetitive restrictions at the heart of this lawsuit, playing pivotal

roles in the execution and reinforcement of these constraints.


 5 NAR Handbook, at p. 9.


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   110. Non-compliance with the Code of Ethics may result in the expulsion of both

individual and associational members from NAR. Specifically, NAR’s Code of Ethics

and Arbitration Manual states:

        Any Member Board which shall neglect or refuse to maintain and
        enforce the Code of Ethics with respect to the business activities of its
        members may, after due notice and opportunity for hearing, be expelled
        by the Board of Directors from membership in the National
        Association.6

   111. Likewise, the Handbook further states:

        Those associations or multiple listing services found by the National
        Association to be operating under bylaws or rules and regulations not
        approved by the National Association are not entitled to errors and
        omissions insurance coverage and their charters are subject to review
        and revocation.7

   112. The NAR’s model rules obligate local realtor and brokerage associations

within the MLSs of Georgia, and particularly this District, to comply with the NAR

Code of Ethics or face the consequences set forth above, among others.

   113. The NAR scrutinizes the governing documents of its local realtor associations,

particularly those in the MLSs, to affirm adherence to NAR regulations. These

associations are mandated to periodically submit their governing documents to NAR

for evaluation to demonstrate compliance.

                              THE DEFENDANTS’ COMPLICITY



 6 National Association of Realtors, Code of Ethics and Arbitration Manual 2019, at 1, available at

 https://www.nar.realtor/sites/default/files/documents/2019-CEAM.pdf
 7 NAR Handbook, at p. 8.


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   114. The Defendants have consented to adopt, endorse, execute, and uphold the

Compensation Rule through active participation in NAR governance and by

mandating adherence to NAR regulations among local real estate associations, as well

as their affiliated franchisees, brokers, and employees. Their engagement in an

association that prohibits commission competition among associates, coupled with

their commitment to these anticompetitive practices, implicates the Defendants in the

conspiracy, contributing to its perpetuation and enforcement.

   115. The Defendants have engaged in the conspiracy and consciously committed

to a common scheme through at least three primary actions: (1) they require their

franchisees, and the agents or realtors under them, to adhere to the NAR rules,

including the Compensation Rule, for MLS access; (2) their executives oversee the

NAR’s operations, particularly the adoption, maintenance, and enforcement of the

Compensation Rule within the MLSs; (3) they ensure their franchisees sway local

realtor associations to implement and enforce the NAR’s rules, including the

Compensation Rule, as a prerequisite for property listings in the MLSs.

   116. First, the Defendants have enacted the conspiracy and common scheme by

requiring their franchisees, and consequently their agents and realtors, to abide by the

NAR’s rules, inclusive of the Compensation Rule. Franchise agreements between the

Defendants and their franchisees stipulate that these franchisees and their agents must:

(a) adhere to the NAR’s Code of Ethics; (b) become members of and follow the rules


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of the local realtor association; and (c) engage in the local MLS while complying with

its regulations, including the obligatory rules from the NAR Handbook. Each

Corporate Defendant is involved in agreements with subsidiaries, franchisees, and/or

affiliates located and conducting business in this District.

   117. Second, the executives of the Defendants, among the nation’s largest real

estate brokerage franchises or local real estate brokerage firms, have been integrally

involved in the NAR’s management and operation. These senior executives have held

positions on the NAR’s governing board of directors, which is responsible for

drafting, developing, and promulgating both the NAR’s Handbook and its Code of

Ethics. Moreover, the day-to-day operations of the NAR are overseen by an eight-

person Leadership Team, predominantly consisting of executives from the

Defendants’ franchisees.

   118. Third, the Defendants’ franchisee executives have engaged in the governance

of local realtor associations and other associations. Through these positions, they have

facilitated the conspiracy’s implementation. These executives, along with the local

realtor associations, have enforced compliance with the NAR’s rules, such as the

Compensation Rule, and have instituted standard form contracts to enforce the NAR

mandates.

   119. In each region served by an MLS, including this District, the Defendants’

franchisees have advanced the conspiracy. They have done so by colluding with local


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realtor associations to enact, adhere to, and uphold NAR’s regulations, particularly

the Compensation Rule.

                            EFFECTS OF THE CONSPIRACY

   120. The Defendants’ conspiracy has resulted in the following anticompetitive

consequences, among others:

           a. Home sellers have been compelled to pay commissions to buyer

              brokers, their negotiation adversaries, significantly elevating the costs

              of home sales;

           b. Home sellers have been obligated to offer high buyer broker

              commissions as an incentive for buyer brokers to showcase their

              properties to potential clients;

           c. As a consequence of paying elevated buyer broker commissions, home

              sellers have incurred inflated overall commission costs;

           d. Often, those inflated overall commission costs are passed along in the

              price of the home, which means that home buyers also have to pay some

              or all of the inflated costs;

           e. The process of retaining a buyer broker has been decoupled from

              determining their commission; the home buyer engages the buyer

              broker, but the commission is set by the seller’s agent;




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 f. Price competition among brokers for engagement by home buyers, as

    well as among those vying to sell homes, has been significantly

    restricted;

 g. Rather than reflecting competitive market values like experience,

    service level, and local connections, buyer broker compensation is

    predominantly determined by a property’s sale price and the customary

    percentage commission offered;

 h. The inability of home buyers to compete for purchases by reducing the

    buyer broker commission has curtailed competition among buyer

    brokers;

 i. The Defendants and their franchisees have significantly boosted their

    profits through the receipt of inflated buyer broker commissions and

    artificially high commission rates overall;

 j. The Defendants, through horizontal price fixing, have purposefully

    inflated or stabilized broker commission rates;

 k. Home sellers have been coerced into buying services they do not desire

    — namely, those of an unspecified buyer broker — at the time they

    seek services they do want, such as a seller broker with access to a local

    geographic MLS; and




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             l. Commissions have been extricated from the negotiation process

                between seller and buyer, transforming into a non-negotiable, take-it-

                or-leave-it proposition.

   121. Plaintiffs recognize no pro-competitive benefits of Defendants’ conspiracy,

which is manifestly anticompetitive and detrimental to competition. The conspiracy

represents an effort to sustain the historical system mandating home sellers to cover

the buyer broker’s commission.

   122. Should Defendants contend that the MLS system intrinsically offers pro-

competitive advantages, none of these benefits originate from NAR’s anticompetitive

rules and regulations, which are designed to preserve buyer brokers’ inflated

commissions. Even if certain purported pro-competitive effects were to exist, they are

significantly overshadowed by the overwhelming anticompetitive impacts of the

conspiracy.

   123. Considerable economic data corroborate the view that Defendants’ conspiracy

has culminated in elevated total and buyer broker commissions charged to home

sellers, surpassing those in comparable markets unaffected by NAR’s anticompetitive

policies.

   124. In comparison with other nations where competitive markets for residential

real estate brokerage services exist, the commissions in this country are markedly

higher.


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   125. For example, economists Natalya Delcoure and Norm Miller compared

international real estate commissions with those in the United States concluding:

        Globally, we see much lower residential commission rates in most of
        the other highly industrialized nations, including the United Kingdom
        (UK), Hong Kong, Ireland, Singapore, Australia, and New Zealand . . .
        In the UK, the [total] commission rates average less than 2% . . . In New
        Zealand and South Africa, [total] commission rates average 3.14%. In
        Singapore, the [total] commission rates also tend to run around 3%.8

   126. Delcoure’s and Miller’s research also revealed intriguing within-country

variations. In the UK, they observed that broker commissions typically hover around

1%-2%. However, in highly competitive regions, these rates dip to between 0.5-

0.75%, contrasting sharply with less expensive areas where they can escalate to as

high as 3.5%.9 Drawing on global data, these economists ultimately posited that the

total US residential brokerage fees ought to align more closely with a 3.0% standard.10

   127. This analysis contrasts total broker commissions in the regions served by an

MLS, averaging between 5% and 6%. Notably, commissions for buyer brokers alone

remain consistent, ranging from 2.5% to 3%. These figures have held steady despite

fluctuations in home prices, which typically would increase commission amounts, and

despite the diminishing role of buyer brokers in a digital era where prospective buyers

increasingly utilize platforms like Zillow or Realtor.com for market research.



 8 See Natalya Delcoure & Norm G. Miller, International Residential Real Estate Brokerage Fees and

 Implications for the US Brokerage Industry, 5 Int’l Real Estate Review 12 (2002).
 9
   Id. at 17.
 10
    Id. at 13.


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Intriguingly, evidence suggests that this trend of stability in buyer broker commissions

is not isolated. For instance, upon information and belief, a representative from Keller

Williams disclosed that in 2015, their buyer brokers received an average commission

of 2.7%, a figure nearly unchanged from the 2.8% reported in 2002.

      128. Other economists echo these findings. A notable example is a Cornell

University Economics Professor, who critically views the NAR’s Compensation Rule.

The professor labels this a “structural hurdle,” impeding innovation and price

competition in the real estate sector. According to this perspective, such a hurdle arises

not from inherent structural characteristics of real estate markets, but rather because

of an alleged anticompetitive conspiracy by the defendants.11

      129. The Compensation Rule not only facilitates but also encourages

anticompetitive behavior, specifically the “steering” away from brokers who depart

from “standard” commission practices and rates. This rule plays a pivotal role in

enabling buyer brokers to effortlessly identify and compare the compensation offered

by every seller within a local real estate market. Consequently, this facilitates the

steering of clients towards homes offering higher commissions.

      130. The practice of steering actively discourages reductions from the “standard”

commission rate and permits brokers to sidestep or even penalize buyer brokers who


 11  See FTC-DOJ Joint Public Workshop, Segment 3 Tr., June 5, 2018, available at
 https://www.ftc.gov/system/files/documents/videos/whats-new-residential-real-estate-brokerage-
 competition-part-3/ftc-doj_residential_re_brokerage_competition_workshop_transcript_
 segment_3.pdf

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attempt to compete through offering discounts. This practice not only hampers

competition but also fosters significant agency costs. It creates a misalignment

between the incentives of the buyer brokers and the best interests of their clients.

Essentially, buyer brokers may be incentivized to direct their clients towards

properties offering higher commissions, rather than those that best meet the clients’

needs or preferences, leading to a conflict of interest. This misalignment undermines

the principle of buyer brokers acting in the best interest of their clients, a foundational

aspect of their professional duty.

   131. The Defendants, along with their franchisees, brokers, and purported co-

conspirators, also employ software to strategically direct transactions based on MLS

commission data, reinforcing the practice of steering. Additionally, they have

deliberately limited buyer awareness of properties linked to reduced buyer broker

commissions, effectively constraining market transparency and buyer choice. This

dual approach – technologically aided steering and selective information disclosure –

epitomizes a calculated effort to maintain higher commission standards, echoing

broader anticompetitive concerns within the real estate sector.

   132. CoreLogic, a company specializing in software technology and data services,

caters to numerous MLSs across the United States. CoreLogic’s primary software

offering is known as Matrix.




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   133. Matrix includes a feature enabling brokers to filter property listings based on

the buyer broker commission offered. This functionality allows buyer brokers to use

Matrix to selectively present their clients with information about potential homes,

specifically those offering a buyer broker commission within a preferred range.

   134. Moreover, the NAR has implemented various rules and policies,

collaboratively drafted and subsequently adhered to by the Defendants, which

intensify the anticompetitive impact of steering. These stipulations particularly govern

how the offered buyer broker commission is displayed, ensuring its visibility and

comparability among realtor participants.

   135. Defendants have ensured that realtors can readily access information about

buyer broker commission offers, while ordinary home buyers and sellers remain

uninformed of such details. Additionally, the NAR explicitly forbids the

dissemination of this information through third-party websites or other MLS

syndication services.

   136. The NAR and Defendants have orchestrated a one-way flow of price

information by requiring its disclosure among realtor participants while prohibiting its

access to buyers and sellers. This strategic management of information hinders price

competition that could favor consumers and instead encourages realtor participants to

collaborate in maximizing their total commission.




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   137. Moreover, the concealment of pricing details enables realtors, including the

Defendants who are intent on maintaining the status quo, to penalize brokers and

realtors who deviate from the “standard” commission rates without consequence.

   138. Furthermore, the lack of access for home sellers and buyers to the

comprehensive, unilateral offer of buyer broker compensation deprives them of the

means to identify any steering practices by buyer brokers.

   139. The economic evidence plainly indicates that the Compensation Rule restricts

competition in various aspects of the real estate market, consequently leading to home

sellers paying significantly more than they otherwise would in a more competitive

environment.

   140. The Defendants’ conspiracy, along with the Compensation Rule, was

strategically formulated to maintain real estate commissions at artificially high, above-

market levels. Despite considerable social and technological advancements that

typically would have reduced these costs, the Defendants have successfully kept the

"standard" commission rate at 6%.

   141. Furthermore, Defendants’ conspiracy and the Compensation Rule were

designed not only to maintain elevated commission rates but also to sustain real estate

agents who might not be competitive in a more rigorous market environment. The

establishment of a “standard” commission insulates buyer brokers from market




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pressures, consequently allowing inefficient agents to remain in business without the

necessity to enhance their competitiveness or exit the market.

   142. The Defendants, in conjunction with other major realty firms, exert substantial

influence over the NAR to the extent that they can effectively dictate its policies. This

dominance results in local real estate agents being presented with “take it or leave it”

policies. Non-adherence to these policies places these agents in a precarious position,

often rendering them unable to sustain their business operations.

                    DEFENDANTS’ LION’S SHARE OF THE MARKET

   143. The service market central to these claims is defined by the array of services

offered to home buyers and sellers by residential real estate brokers with access to the

MLSs. The Defendants’ controls of local MLSs empower them to enforce the

Compensation Rule and other restrictive rules from NAR upon Plaintiffs, the Class

members and other market actors. In this realm, access to the MLSs is indispensable

for brokers to engage in competition and to adequately serve home buyers and sellers

within the territories the MLSs cover.

   144. Buyers and sellers typically engage with local real estate agents who are

members of the local MLS in the area wherein the property intended for purchase or

sale is situated.




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   145. The Defendants, in collaboration with their co-conspirators, possess market

power in each relevant market, derived from their control of the local MLSs and their

predominant share in the local market, particularly in this District.

   146. Within the territories governed by the local MLSs, any buyer brokers aspiring

to compete outside the Defendants’ conspiracy confront formidable, if not

insurmountable, obstacles. Defendants’ dominance means that brokers not party to the

conspiracy would face the daunting task of either creating an alternative listing service

to challenge the conspirators or attempting to compete without any access to a listing

service at all.

   147. To effectively rival one of the MLSs governed by NAR’s rules, an alternative

listing service would need to match, or nearly match, the comprehensiveness of the

NAR-regulated MLSs. However, brokers and their affiliated realtors or agents,

currently benefiting from elevated buyer broker and total commissions, have little

motivation to engage with an alternative service that would yield lower overall

commissions, including reduced earnings for both buyer and seller brokers.

   148. Moreover, many buyers would likely hesitate to engage a buyer broker

associated with an alternative listing service that necessitates them paying the buyer

broker commission directly, especially when other buyer brokers, operating within an

MLS governed by NAR’s rules, are fully compensated by home sellers.




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   149. NAR further impedes potential competition by recommending that MLSs

engage in non-compete agreements with third-party websites like Zillow and

Realtor.com, to prevent these sites from evolving into competitive entities. NAR’s

checklist of essential elements dictates that any consumer-facing website must pledge

not to compete with brokerage firms or MLSs by either obtaining a brokerage license

or offering cooperation and compensation akin to an MLS. These non-compete

agreements oblige these websites to refrain from using data in ways that mirror the

functions of an MLS. Through such advisements, NAR actively encourages MLSs to

take steps that support the conspiracy, aiming to obstruct third-party websites from

emerging as potential market challengers.

   150. NAR’s history of limiting innovation and competition among real estate

brokers is evidenced by past actions, including those that prompted the Antitrust

Division of the Department of Justice (“DOJ”) to file a lawsuit. The DOJ’s lawsuit

targeted a NAR policy that hindered brokers using internet-based tools to offer

enhanced services and reduced costs to consumers. NAR eventually consented to a

Final Judgment, agreeing to modify and abandon the contested policy. The DOJ’s

lawsuit exemplifies NAR’s pattern of developing, implementing, and enforcing

anticompetitive policies, such as the Compensation Rule challenged in this case,

which suppress innovation and restrict competition, contravening federal law.




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   151. Furthermore, the history of anticompetitive behavior in the real estate industry

traces back to the first half of the 20th century. During this period, realtors adhered to

explicit agreements to use set commission percentages in home sale transactions. This

practice was eventually deemed an illegal price-fixing arrangement by the United

States Supreme Court in United States v. National Association of Real Estate Boards,

et al., 339 U.S. 485 (1950).

   152. Similarly, in one recent Missouri class action, a federal jury reached a verdict

holding the NAR along with some of the nation’s biggest real estate brokerages liable

for almost $1.8 billion in damages for artificially inflating commissions.

   153. Yet, the Defendants still resist a fair, competitive market. For example, in a

recent strategic move to consolidate their position and preempt competition, Georgia’s

preeminent MLS – the GMLS – declared its intent to form an alliance with four other

major MLSs in the Southeast. This coalition, to be known as the Southeast MLS

Alliance, aims to facilitate a data sharing network. The new partnership will grant

members access to a vast pool of over 85,000 listings spanning Alabama, Georgia,

Kentucky, North Carolina, Tennessee, and South Carolina. The initiative is designed

not only to provide real estate agents with expanded data resources but also to

significantly boost their referral prospects throughout the Southeast. Richard Boone,

CEO of Georgia MLS, emphasized the strategic alignment of these like-minded MLSs

in major Southeast markets, underlining the importance of forming a robust referral


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network for their collective membership. He stressed that the alliance prioritizes

member interests and geographical coherence, offering members access to listings in

four of the Southeast’s most sought-after cities.12 Indeed, the colossus grows ever

more formidable.

                                    CONTINUOUS ACCRUAL

   154. In the four-year period prior to the filing of this Complaint, the Defendants,

in concert with realtors and brokers throughout the country, consistently imposed and

collected commissions that were artificially high, a direct consequence of a concerted

conspiracy. This systematic overcharging, paid by the Plaintiffs and their fellow class

members in the course of residential real estate transactions has not only raised

concerns of fairness and legality but has also precipitated individual legal claims. Each

instance of these inflated commission payments by the Plaintiffs and class members

represents a separate, actionable harm under the law, giving rise to distinct causes of

action for each affected transaction.

   155. Throughout the four years prior to this Complaint, Defendants, along with

their collaborators, have consistently applied and upheld the Compensation Rule and

various other restrictive edicts promulgated by the NAR. This enforcement has

occurred nationwide, and particularly within this District.




 12 https://www.housingwire.com/articles/four-of-the-biggest-mlss-in-the-southeast-have-formed-an-

 alliance/

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                             CLASS ACTION ALLEGATIONS

   156. Plaintiffs submit this action on their own behalf, and as a class action pursuant

to Fed. R. Civ. Pro. 23 on behalf of the members of the “Main Class,” asserting Count

One defined herein as:

        All persons who, for the period December 6, 2019 through the
        present, engaged a listing broker affiliated with any Defendant in
        the sale of a residential property listed anywhere in the United
        States of America and incurred a commission payment to the
        buyer’s broker in connection therewith.

   157. Plaintiffs also submit this action on their own behalf, and as a class action

pursuant to Fed. R. Civ. Pro. 23 on behalf of the members of the “Georgia Subclass,”

asserting Counts One, Two, and Three, and defined herein as:

        All persons who, for the period November 22, 2019 through the present,
        engaged a listing broker affiliated with any Defendant in the sale of a
        residential property listed in Georgia on an MLS and incurred a
        commission payment to the buyer’s broker in connection therewith.

   158. Plaintiffs also submit this action on their own behalf, and as a class action

pursuant to Fed. R. Civ. Pro. 23 on behalf of the members of the “Georgia FBPA

Subclass,” asserting Counts One, Two and Three, and also Count Four, and defined

herein as:

        All persons who, for the period November 22, 2021 through the present,
        engaged a listing broker affiliated with any Defendant in the sale of a
        residential property listed in Georgia on an MLS and incurred a
        commission payment to the buyer’s broker in connection therewith.




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   159. The defined Classes above specifically exclude the Defendants, along with

their officers, directors, and employees. Entities in which any Defendant holds a

controlling interest, as well as any affiliates, legal representatives, heirs, or assigns of

the Defendants, are also not included. Furthermore, this exclusion extends to any

judicial officer overseeing this case, along with their immediate family members and

judicial staff, the jurors involved, and the counsel representing the Plaintiffs, including

the employees of their respective law firms.

   160. The Classes are readily ascertainable because residential real estate

transactions are meticulously documented, and relevant records should exist in the

public domain.

   161. The number of Class members is so extensive that joining each individually

is not feasible. Given the scope of the trade and commerce implicated, it is the

Plaintiffs’ belief that the Classes encompass several thousand members. The precise

count and identities of these members are presumably known to the Defendants and

their co-conspirators.

   162. Plaintiffs will fairly and adequately protect the interests of the members of the

Classes. Plaintiffs’ interests are aligned with, and not antagonistic to, those of the other

members of the Classes.

   163. There are common questions of law and fact that are central to all Class

members, and these predominate over any questions relevant only to individual Class


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members. These common legal and factual questions, each of which also may be

certified under Rule 23(c)(4), include but are not limited to the following:

           a. Whether Defendants, or any of them, engaged in the conspiracy;

           b. Whether the conduct of Defendants and their co-conspirators caused

              injury to the business or property of Plaintiffs and the other members

              of the Classes;

           c. Whether the effect of Defendants’ conspiracy was to inflate both total

              commissions and buyer broker commissions in the geographic areas

              where the Defendants operate;

           d. Whether the competitive harm from the conspiracy substantially

              outweighs any competitive benefits thereof;

           e. Whether Plaintiffs and the other members of the Classes are entitled to,

              among other things, injunctive relief, and, if so, the nature and extent

              of such injunctive relief;

           f. Whether Defendants’ conduct is unlawful; and

           g. The appropriate class-wide measures of damages.

   164. Plaintiffs’ claims are typical of the claims of the members of the Classes

because their claims arise from the same course of conduct by Defendants and the

relief sought within the Classes is common to each member.




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   165. Plaintiffs have retained counsel competent and experienced in the prosecution

of class action litigation to represent themselves and the Classes. Together, Plaintiffs

and their counsel intend to prosecute this action vigorously for the benefit of the

Classes. The interests of Class members will be fairly and adequately protected by

Plaintiffs and their counsel.

   166. A class action is the most effective and equitable method for resolving this

dispute. Individual lawsuits by Class members would burden both the Court and the

Defendants, potentially leading to inconsistent decisions on the shared legal and

factual questions. Conversely, a class action would consolidate efforts and resources,

ensuring consistent outcomes for all similarly situated individuals without

compromising fairness or leading to undesirable consequences. Without a class action,

it would be impractical for Class members to pursue remedies for the alleged legal

violations.

   167. Additionally, the Classes may be certified under Rule 23(b)(1) and/or (b)(2)

because:

              a. The prosecution of separate actions by individual Class members would

                 create a risk of inconsistent or varying adjudications with respect to

                 individual Class members that would establish incompatible standards

                 of conduct for Defendants;




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          b. The prosecution of separate actions by individual Class members would

             create a risk of adjudications with respect to them which would, as a

             practical matter, be dispositive of the interests of other Class members

             not parties to the adjudication, or substantially impair or impede their

             ability to protect their interests; and/or

          c. Defendants have acted or refused to act on grounds generally applicable

             to the Classes, thereby making appropriate final and injunctive relief

             with respect to the Class members as a whole.

                                 ANTITRUST INJURY

   168. Defendants’ anti-competitive agreements and actions have led to the

following consequences, among others discussed above:

          d. Sellers of residential property have been forced to pay inflated costs to

             sell their homes through forced and nonnegotiable commissions to

             buyer brokers;

          e. Home sellers have been compelled to establish buyer broker

             commissions at certain levels as a means to induce buyer brokers to

             show the sellers’ properties to potential buyers;

          f. Price competition has been restrained among brokers seeking to be

             retained by home buyers, and by brokers seeking to represent home

             sellers; and


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           g. The Defendants and their franchisees have substantially augmented

               their profits by a significant margin through the increase of both total

               and buyer broker commissions.

   169. As a consequence of the Defendants’ purported violations of antitrust laws,

Plaintiffs and the Class members have suffered harm to their businesses or property.

This harm is due to the payment of higher total commissions than what would have

been paid without the Defendants’ anti-competitive conspiracy, thereby leading to

incurred damages.

   170. Any potential pro-competitive benefits occasioned by Defendants’ conspiracy

are substantially outweighed by its anti-competitive impacts.

   171. Substantial economic data suggests that the Defendants’ conspiracy has

consequently led to Class members paying buyer-broker commissions and total

commissions at levels well above competitive norms.

   172. This constitutes a quintessential antitrust injury, precisely the kind that the

framers of the antitrust laws intended to penalize and forestall.

                               CLAIMS FOR RELIEF

                                COUNT ONE
           VIOLATION OF SECTION 1 OF THE SHERMAN ACT, 15, U.S.C. § 1
                          AGAINST ALL DEFENDANTS
                       [Brought on behalf of all Classes]

   173. Plaintiffs reallege and incorporate by reference the allegations contained in

paragraphs 1 through 172 of this Complaint as though fully stated herein.

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   174. From over four years prior to the filing of this Complaint, and persisting to

this day, the Defendants have been actively involved in a continuous contract,

combination, or conspiracy, egregiously restraining interstate trade and commerce.

This conduct violates Section 1 of the Sherman Act, codified at 15 U.S.C § 1.

   175. The conspiracy alleged herein is rooted in an enduring accord among the

Defendants and their cohorts, compelling sellers of residential properties to pay

exorbitant commissions to the buyer broker, a clear transgression of straightforward

legal principles.

   176. In furtherance of the contract, combination, or conspiracy, Defendants and

their collaborators have performed one or more of the following overt acts:

           h. Engaged in the creation, perpetuation, reissuance, and enactment of the

               Compensation Rule along with other anti-competitive regulations

               established by the NAR;

           i. Imposing a mandate on the franchisees of the Defendants, among

               others, to enforce the Compensation Rule and additional anti-

               competitive regulations set by the NAR. This enforcement is carried

               out by each Corporate Defendant through its franchise agreements,

               policy manuals, and other contractual arrangements with its

               franchisees, affiliates, subsidiaries, and realtors.




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   177. The Defendants’ conspiracy has coerced sellers into compensating buyer

brokers with inflated commissions, both for the buyer broker and in total, stifling price

competition among buyer brokers. The detriment to competition from this scheme

substantially outweighs any conceivable competitive advantages that might be

claimed to arise from it.

   178. Defendants’ conspiracy constitutes a per se violation under the federal

antitrust laws, specifically 15 U.S.C. § 1.

   179. Alternatively, Defendants’ conspiracy is illegal under the federal antitrust

laws and violates 15 U.S.C. § 1 under a rule-of-reason analysis.

   180. As a direct and proximate result of Defendants’ past and continuing violation

of Section 1 of the Sherman Act, 15 U.S.C. § 1, Plaintiffs and the other Class members

have been injured in their business and property, suffering damages therefrom in an

amount to be proven at trial.

   181. Plaintiffs and the other Class member are also suffering a significant threat of

injury from Defendants’ impending and continuing violation of the antitrust laws.

                                COUNT TWO
          VIOLATION OF GEORGIA ANTITRUST ACT, O.C.G.A. § 12-8-2
                           AGAINST ALL DEFENDANTS
  [Brought on behalf of the Georgia Subclass and the Georgia FBPA Subclass]

   182. Plaintiffs reallege and incorporate by reference the allegations contained in

paragraphs 1 through 181 of this Complaint as though fully stated herein.



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   183. Under the Georgia Antitrust Act, O.C.G.A. § 13-8-2, et seq, contracts against

public policy cannot be enforced, including “[c]ontracts in general restraint on trade.”

O.C.G.A. § 13-8-2(a)(2).

   184. The State of Georgia has expressed, both in its constitution and in its statutory

law, a strong public policy disfavoring contractual restraints on competition and trade.

See Ga. Const. art. 3, § 6, ¶ 5(c); O.C.G.A. § 13-8-2(a)(2).

                               COUNT THREE
      VIOLATION OF GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES ACT
                           AGAINST ALL DEFENDANTS
  [Brought on behalf of the Georgia Subclass and the Georgia FCBA Subclass]

   185. Plaintiffs reallege and incorporate by reference the allegations contained in

paragraphs 1 through 170 of this Complaint as though fully stated herein.

   186. In accordance with the Georgia Uniform Deceptive Trade Practices Act

(“UDTPA”), “[a] person engages in a deceptive trade practice when, in the course of

his business, vocation, or occupation, he: . . . (12) Engages in any other conduct which

similarly creates a likelihood of confusion or of misunderstanding.” O.C.G.A. § 10-1-

372(a).

   187. As set forth herein, Defendants each engage in a business, vocation or

occupation in Georgia.

   188. As set forth herein, in the course of their business, Defendants engage in

conduct that is deceptive and creates a likelihood of confusion or misunderstanding

for sellers and the public at large.

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   189. Defendants’ violations of the UDTPA were willful and knowing.

   190. Plaintiffs, including the Class members, suffered actual damages as a direct

and proximate consequence of Defendants’ past and continuing deceptive trade

practices, specifically occasioned by the Compensation Rule, which affects the public

interest in the state of Georgia.

   191. Plaintiffs and Class members seek actual and exemplary damages in amount

to be proven at trial; injunctive relief against Defendants’ methods, acts and practices

that violate the Georgia UDTPA; and attorneys’ fees and expenses of litigation.

                                COUNT FOUR
            VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
                           AGAINST ALL DEFENDANTS
               [Brought on behalf of the Georgia FBPA Class only]

   192. Plaintiffs reallege and incorporate by reference the allegations contained in

paragraph 1 through 191 of this Complaint as though fully stated herein.

   193. In accordance with Georgia’s Fair Business Practices Act (“FBPA”), “[u]nfair

or deceptive acts or practices in the conduct of consumer transactions and consumer

acts or practices in trade or commerce are declared unlawful.” O.C.G.A. § 10-1-393

(a).

   194. The Georgia General Assembly intends for the FBPA “to protect consumers

and legitimate business enterprises from unfair or deceptive practices in the conduct

of any trade or commerce in part or wholly in [Georgia].” O.C.G.A. § 10-1-391 (a).



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   195. Moreover, “[i]t is the intent of the General Assembly that such practices be

swiftly stopped, and [the FBPA] shall be liberally construed and applied to promote

its underlying purposes and policies.” O.C.G.A. § 10-1-391 (a).

   196. Under the FBPA, “trade” and “commerce” are defined as the “advertising,

distribution, sale, lease, or offering for distribution, sale, or lease of any goods,

services, or any property, tangible or intangible, real, personal, or mixed, or any other

article, commodity, or thing of value wherever situate and shall include any trade or

commerce directly or indirectly affecting the people of this state.” O.C.G.A. § 10-1-

392 (a) (28).

   197. Plaintiffs engaged in transactions with the Defendants and their conspiratorial

associates, acquiring services distinctly characterized as those of real estate brokerage

involving the advertising and sale of real property within the state of Georgia.

   198. As set forth herein, Defendants’ conduct is unlawful and in violation of public

policy governing the restraint of trade in Georgia.

   199. Moreover, Defendants’ conduct and conspiratorial scheme is deceptive,

unfair, and affects the public interest at large.

   200. Defendants’ violations of the FBPA were willful and knowing.

   201. Plaintiffs, including the Class members, suffered actual damages as a direct

and proximate consequence of Defendants’ past and continuing deceptive and unfair




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business practices, specifically occasioned by the Compensation Rule, which affects

the public interest in the state of Georgia.

   202. Plaintiffs and Class members seek actual and exemplary damages in amount

to be proven at trial; injunctive relief against Defendants’ methods, acts and practices

that violate the Georgia FBPA; and attorneys’ fees and expenses of litigation.


                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that judgment be entered in their favor against

 Defendants as follows:

     (a) An Order certifying the Classes under Rule 23 of the Federal Rule of Civil

        Procedure, and appointing Plaintiffs and their counsel to represent the Classes;

     (b) A declaration that the Defendants’ actions are unlawful;

     (c) A permanent injunction enjoining Defendants from (1) requiring that sellers

        pay buyer brokers, (2) continuing to restrict competition among buyer brokers

        and seller brokers, and (3) engaging in any other unlawful conduct;

     (d) Any other appropriate injunctive and equitable relief;

     (e) An award to Plaintiffs and the other members of the Classes for damages

        and/or restitution in an amount to be determined at trial;

     (f) An award of exemplary damages in an amount sufficient to punish Defendants

        and deter future illegal activity;

     (g) An award of pre- and post-judgment interest to Plaintiffs;

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(h) An award to Plaintiffs for attorneys’ fees, expenses, and costs,

(i) Any other award and further relief as the Court deems just and proper.

   Respectfully submitted this the 6th day of December, 2023.

                                             /s/ Jonathan Palmer
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                                             Georgia Bar No. 142401
                                             Jonathan M. Palmer
                                             Georgia Bar No. 453452
                                             Nicholas Sears
                                             Georgia Bar No.
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CERTIFICATE OF COMPLIANCE WITH LOCAL RULES AND SERVICE

      In accordance with L.R. 7.1(D), I hereby certify that the foregoing was

prepared in Time New Roman, 14-point font, one of the fonts specified in L.R.

5.1(C).

      Submitted on December 6, 2023.

                                             /s/ Jonathan M. Palmer
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